     Case 2:19-cv-00126      Document 1     Filed on 04/30/19 in TXSD   Page 1 of 9




                        United States District Court
                         Southern District of Texas
                           Corpus Christi Division
                                     §
                                                            2:19-cv-126
 In re: The Matter of Albert Travis §            Cause No. ________
 Spaulding, as Owner of a 2016       §
 Majek Boats Illusion, for           §         Admiralty – Rule 9(h)
 Exoneration From or Limitation      §
 of Liability                        §



                           Complaint and Petition for
                    Exoneration From or Limitation of Liability

         Petitioner, Albert Travis Spaulding, as owner and operator of a 25 foot, 2016

Majek Boats Illusion, hull identification number MJK25M18F616, and its engines,

gear, tackle, etc. (collectively the “Vessel”), brings this Complaint and Petition for

Exoneration From or Limitation of Liability (the “Complaint”) pursuant to 46 U.S.C.

§§ 30501, et seq. In support thereof, Petitioner shows the Court as follows:

                              JURISDICTION & VENUE
         1.     This is a case of admiralty and maritime jurisdiction pursuant to 28

U.S.C. § 1333 and is filed pursuant to Rule 9(h) of the Federal Rules of Civil Procedure

and Rule F of the Supplemental Rules.

         2.     The Vessel has not been arrested, libeled, or attached to answer for any

claims arising on or after the Vessel’s relevant voyage. However, a counterclaim has

been filed against Petitioner in this division and district: Albert Travis Spaulding v.

Matthew C. May, et al.; In the United States District Court for the Southern District

of Texas, Corpus Christi Division; Civil Action No. 2:18-cv-322 (the “Related Action”).




PD.26032437.1
     Case 2:19-cv-00126       Document 1     Filed on 04/30/19 in TXSD   Page 2 of 9




Accordingly, venue is proper in this District pursuant to Rule F(9) of the

Supplemental Rules.

                                  PARTIES & VESSEL
         3.      Petitioner is an individual who resides in Texas, and is, and was at all

material times, the owner of the Vessel.

         4.      At all material times hereinafter mentioned, the Vessel was and is a

recreational fishing-type vessel of the following description:

                Make:                         Majek Boats
                Model:                        25 Illusion
                ID No.:                       MJK25M18F616
                Registration No.:             TX 4832 EK
                Length:                       25 feet
                Year Built:                   2016

At all times applicable, the Vessel complied with applicable regulations. Prior to and

at all times hereinafter described, Petitioner exercised due diligence to make and

maintain the Vessel in all respects seaworthy and, at all times material hereto, the

Vessel was, in fact and when applicable, tight, staunch, strong, properly and

efficiently manned, supplied, equipped and furnished, and well and sufficiently fitted

with suitable engines, machinery, gear, tackle, apparel, appliances, and furniture,

and all respects seaworthy, in good order and condition, and suitable for the service

in which the Vessel was engaged.

         5.      The Vessel was extensively damaged during the voyage described herein

and rendered a total loss.

         6.      As shown in the attached survey report, attached as Exhibit A and

incorporated by reference, the Vessel was a constructive total loss and had an




                                            -2-
PD.26032437.1
     Case 2:19-cv-00126      Document 1    Filed on 04/30/19 in TXSD    Page 3 of 9




estimated salvage value of ZERO 00/100 U.S. DOLLARS ($0.00) following the voyage

described herein.

         7.     The Vessel was a recreational vessel and was used by Petitioner as such

on the voyage in question. As such, there was no pending freight for the voyage

described herein.

                                BACKGROUND FACTS
         8.     On or about the August 24, 2018, Petitioner commenced a voyage in the

vicinity of Port O’Connor, Texas and was boating/fishing with his six year-old and

twenty-four year-old sons on the Vessel. At approximately 7:45 p.m. local time,

Petitioner and his sons were on the Vessel in the Intracoastal Waterway (“ICW”),

slightly east of the entrance to the “Sanctuary” in Port O’Connor, Texas,

approximately 50 feet from the north bank of the ICW. Suddenly, unexpectedly, and

without warning, the M/Y PICKINGARB (United States Coast Guard No. 1265242)

moving at significant speed collided into the port side of the Vessel at approximately

amidships, and proceeded over and past the Vessel. The force of the collision and

impact caused severe and potentially life-threatening injuries to Petitioner, and

resulted in the sinking of the Vessel.

         9.     The above-described events, and all death, injury, loss, cost, expense,

damage, or destruction, if any, arising out of or related to the above-described events,

were not caused or contributed to by any fault, negligence, or lack of due care or

diligence on the part of Petitioner, the design or condition of the Vessel, or any

unseaworthiness or fault of the Vessel, or any person in charge of the Vessel, or any

person for whom Petitioner was or is responsible.



                                           -3-
PD.26032437.1
     Case 2:19-cv-00126      Document 1     Filed on 04/30/19 in TXSD   Page 4 of 9




         10.    The above-described incident, and all alleged death, injury, loss, cost,

expense, damage, or destruction, if any, sustained by any and all persons or entities

which may have resulted from the above-described incident, could only have been

caused, done, contributed to, occasioned and/or incurred without the privity or

knowledge of Petitioner.

         11.    Rather, the above-described incident, and all death, injury, loss, cost,

expense, damage, or destruction, if any, arising out of or related to the above-

described incident, which are denied, are due to and/or caused by the fault,

negligence, or lack of due care or diligence of others for whom Petitioner is not

responsible.

                          CLAIMS AGAINST PETITIONER
         12.    However, Petitioner now has a reasonable basis to believe that claims

will be asserted and prosecuted against him in amounts exceeding the total sum he

may be required to pay under the laws of the United States relating to the exoneration

from or limitation of a shipowner’s liability.

         13.    As a result of the incident, on October 31, 2018 counsel for the owner

and operator of the M/Y PICKINGARB (Matthew May) filed a counterclaim against

Petitioner in the Related Action, which served as Petitioner’s first written notice of a

potential claim against Petitioner for damages arising out of the voyage. Petitioner

understands other passengers were aboard May’s vessel, thereby making it possible

that other claims could be made against Petitioner.

         14.    Pursuant to Rule F(1), this Complaint is filed within the running of six

months from the date Petitioner first received written notice of a limitable claim.



                                           -4-
PD.26032437.1
     Case 2:19-cv-00126      Document 1     Filed on 04/30/19 in TXSD    Page 5 of 9




         15.    Except as described above, Petitioner is, as of this date, unaware of any

other suits, petitions, demands, unsatisfied claims of liens, or liens against the Vessel

in connection with the incident made the subject of this Complaint. To the best of

Petitioner’s knowledge, no warrant of arrest of any other process has been issued for

the Vessel.

                         PETITION FOR EXONERATION
                       FROM OR LIMITATION OF LIABILITY
         16.    Petitioner desires to contest any claim asserted against him, and the

liability of the Vessel, if any, for such death, injury, loss, cost, expense, damage, or

destruction occasioned or incurred on the above-described voyage, and Petitioner

further claims exoneration or exemption from liability for any and all death, injury,

loss, cost, expense, damage, or destruction, if any, caused by, arising out of,

occasioned, or incurred as a result of the aforesaid casualty and for any and all claims

therefor. Petitioner alleges that he has valid defenses thereto on the facts and on the

law to the claims of any present and/or future claimant.

         17.    Alternatively, Petitioner, without admitting but affirmatively denying

all liability, claims the benefit of the limitation of liability provided for in The

Limitation of Liability Act, 46 U.S.C. §§ 30501, et seq., and the various statutes

supplemental thereto and amendatory thereof, and Rule F of the Supplemental

Rules, and any and all Acts of Congress amendatory thereof and supplementary

thereto, and the rules and practice of this Court and the Supreme Court of the United

States.




                                           -5-
PD.26032437.1
     Case 2:19-cv-00126      Document 1      Filed on 04/30/19 in TXSD    Page 6 of 9




         18.    While not in any way admitting that Petitioner bears any liability for

any death, injury, loss, cost, expense, damage, or destruction occurring, if any,

Petitioner claims and is entitled to have his liability, if any, limited to the amount or

value of his interest as aforesaid in the Vessel immediately after the aforesaid voyage,

and to that end Petitioner will deposit with the Court, as security for the benefit of

potential claimants, an Ad Interim Stipulation, as security for the amount of the

value of his interest in the Vessel as provided by the aforesaid statues, by the Federal

Rules of Civil Procedure including the Supplemental Rules, and by the rules of

practice of this Court.

         19.    Should it later appear that Petitioner is or may be liable and that the

amount or value of his interest in the Vessel is not sufficient to pay all losses in full,

then all claimants shall be made to share pro rata in the aforesaid sum represented

by the Stipulation, saving to all such claimants any rights of priority they may have

as ordered by this Court, or as provided by the aforesaid statutes, by the Federal

Rules of Civil Procedure, including the Supplemental Rules, the general maritime

law, and by the rules and practices of this Court.

                     AD INTERIM STIPULATION FOR VALUE
         20.    Subject to an appraisal of his interests, Petitioner will deposit with the

Court, as security for the benefit of all potential claimants, an Ad Interim Stipulation

in the sum of ZERO 00/100 U.S. DOLLARS ($0.00), plus interest at six percent (6%)

per annum from the date of said Stipulation, said sum representing the total value of

Petitioner’s interest in the Vessel, and pending freight, following the above-described

voyage.



                                            -6-
PD.26032437.1
     Case 2:19-cv-00126      Document 1     Filed on 04/30/19 in TXSD   Page 7 of 9




                                        PRAYER
         For these reasons, Petitioner prays that:

         (a)    upon filing of the above-described Ad Interim Stipulation, the Court

issue an Order directing the issuance of notice to all persons who might have any

claim resulting from the alleged casualty or during the voyage on which the Vessel

was then engaged, citing them to file their respective claims with the Clerk of this

Court, and to serve copies of said claims upon the attorney for Petitioner on or before

the time fixed by this Court or be forever barred and permanently enjoined from

making and filing any such claims, to make proof of their claims before this Court,

and to appear and answer the allegations of this Complaint;

         (b)    upon filing of the above-described Ad Interim Stipulation, the Court

issue an injunction restraining the filing, commencement, and further prosecution of

all proceedings (except in the present proceeding) to recover for damages allegedly

arising out of the voyage on which the Vessel was then engaged, against Petitioner,

its underwriters, agents, representatives, or any other property of Petitioner

whatsoever, or any persons for whom Petitioner may be responsible, or the Vessel, in

respect of any claim arising out of the voyage, whether in personam or in rem;

         (c)    if any claimant files an exception controverting the value of the Vessel

in its condition as alleged herein, or to the amount of the Ad Interim Stipulation, the

Court shall cause due appraisal to be made of the value of the Vessel and its freight



                                           -7-
PD.26032437.1
     Case 2:19-cv-00126        Document 1     Filed on 04/30/19 in TXSD     Page 8 of 9




earned, if any, during the time referred to in the Complaint, and the value of

Petitioner’s interest therein; and, in the event said appraised value exceeds the

limitation fund or security filed with the Court, this Court enter an Order for payment

into the Court of the higher value of Petitioner’s interests therein, or for the giving of

security in the same amount pursuant to the Supplemental Rules of the Federal

Rules of Civil Procedure;

         (d)     the Court, assuming that a claim is filed in this proceeding against

Petitioner, its underwriters, agents, representatives, or any other person whatsoever

for whom Petitioner may be responsible, or the Vessel, adjudge:

                i. Petitioner, its underwriters, and the Vessel are not liable to any extent

                   for any injury or loss in any way arising out of the alleged occurrence,

                   and that the Vessel and Petitioner are exonerated from any and all

                   liability which may be claimed as a result of the events in question;

                ii. Alternatively, if Petitioner, its underwriters, and/or the Vessel be

                   adjudged liable, then that such liability be limited to the value of

                   Petitioner’s interest in the Vessel, and her pending freight, if any, for

                   the voyage in which the Vessel was engaged at the time of the events

                   in question, and that the money to be paid be divided pro rata among

                   such claimants as may prove their claims, if any, before this Court,

                   saving to all parties any priorities to which they may be legally

                   entitled, and that a decree may be entered discharging Petitioner, its

                   underwriters, and the Vessel from all further liability; and




                                             -8-
PD.26032437.1
     Case 2:19-cv-00126      Document 1     Filed on 04/30/19 in TXSD       Page 9 of 9




         (e)    Petitioner have such other and further relief as the justice of the cause

may require.




DATED: April 30, 2019.



                                           Respectfully submitted,

                                           BY:     /s/ Michael E. Streich
                                                  Michael E. Streich
                                                  Texas Bar No. 24079408
                                                  Federal ID No. 1339959
                                                  Marc G. Matthews
                                                  Texas Bar No.: 24055921
                                                  Federal ID No. 705809
                                                  500 Dallas Street, Suite 1300
                                                  Houston, Texas 77002
                                                  Telephone: 713-626-1386
                                                  Telecopier: 713-626-1388
                                                  Email: marc.matthews@phelps.com
                                                  Email:michael.streich@phelps.com




                                                 ATTORNEYS FOR PETITIONER

OF COUNSEL:

PHELPS DUNBAR LLP




                                            -9-
PD.26032437.1
